      Case 1:16-cv-03136-JKB Document 24 Filed 12/19/16 Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


VERONICA WALKER, Individually, and *
As Personal Representative for the Estate
Of Jason Wallace, deceased, et al.,       *

       Plaintiffs,                            *        Case No. 16-cv-3136-MJG

       v.                                     *

STATE OF MARYLAND, et al.,                    *

       Defendants.                            *

       *       *       *       *      *       *        *         *   *      *      *

                     MOTION OF PLAINTIFFS TO INTERVENE

       Minor Plaintiffs K.W. and V.W., by their next friend, June Stephanie Woerner,

and through their attorney, C. Justin Brown, Brown & Nieto, LLC, hereby move this

Honorable Court, pursuant to Federal Rule of Civil Procedure 24, to intervene as

Plaintiffs. In support of this Motion, minors K.W. and V.W. state the following:

       1.      Plaintiffs Veronica Walker and Gilbert Wallace filed suit against the State

of Maryland, and individuals employed by the State of Maryland, alleging damages that

resulted from the death of their son, Jason Wallace.

        2.     In the lawsuit, K.W. and V.W., the surviving minor children of Jason

Wallace, were named as use plaintiffs. Based on information and belief, K.W. and V.W.

are the only children of Wallace, and thus are his sole heirs.

       3.      June Stephanie Woerner is the maternal grandmother of K.W. and V.W.

She is also the custodial guardian and next friend of the minors. She has had full custody

of the children since 2009.
      Case 1:16-cv-03136-JKB Document 24 Filed 12/19/16 Page 2 of 3



        4.         In about November of 2016, Woerner received notice that Walker and

Wallace had filed a federal lawsuit, Case Number 16-cv-3136-MJG.

        5.         As next friend of minors K.W. and V.W., Woerner now intervenes in this

lawsuit to represent their claims and legal interests, which are spelled out in the

Complaint. (ECF Nos. 1 & 3).

        6.         As of this filing, the named defendants have yet to answer the complaint;

thus the intervention would not unduly delay or prejudice the adjudication of the original

parties’ rights.

        WHEREFORE, minor plaintiffs K.W. and V.W. respectfully request that they be

allowed to intervene as plaintiffs in this lawsuit.



                                         Respectfully Submitted,


                                         _________/s/__________
                                         C. Justin Brown
                                         BROWN & NIETO, LLC
                                         231 East Baltimore Street, Suite 1102
                                         Baltimore, Maryland 21202
                                         Tel: 410-244-5444
                                         Fax: 410-934-3208

                                         Counsel for June Stephanie Woerner,
                                         next friend of minors K.W. and V.W.




                                                2
     Case 1:16-cv-03136-JKB Document 24 Filed 12/19/16 Page 3 of 3




                           CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2016, a copy of this Motion was served on

all parties via CM/ECF.

                                    _________/s/__________
                                    C. Justin Brown




                                           3
